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Af`ter Recording Return To:

BANK OE' A.MERICA, N.A.
ReconTrust Co./TX2-979-01-07
P.O. Box 619003

Dallas. TX 75261-9003

Prepared By:
BRANDY A. HARVEY

 

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DEFINITIONS
Words used in multiple sections of this document are defined below and other words are defined in Sections 3,

11, 13. 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided
in Section 16.

(A) "Security Instrument" means this doeument, which is dated OCTOBER 19 , 2010 , together
With all Riders to this document.
(B) "Borrower" is

L‘E‘.SLIE C §ECHNER, AND, AND KENT W RECI-INER

Borrower is the mortgagor and trustor under this Security InstrumenL The mailing address of the Borrower is
678 BLACK HAWK DR NE , ALBUQUERQUE, NM 87122-1304

NEW MEX|CO-'Sing[e Famll_y--Fanrlie MaelFreddie Mac UNIFORNI lNSTRUN|ENT Form 3032 1101 (reV. 12109)

Deed of Trust-NN|

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DOC ID #:_
(c) "Lender" is

BANK OF AMERICA, N_A.

Lender is a NATIONAL ASSOCIATION

organized and existing under the laws of THE TJNITED STATES

'_t`he mailing address of the Lender is

101 South Tr'yon Street , Charlotte , NC 282 55

Lender is the beneficiary under this Security Instrument.

(D) "Trustee" is

Susan C _ L:i_tt:le

The mailing address of the Trustee is

P-O. Box 3509, Albuquerc_[ue, NM 87190 .
The Trustee may be changed by ]_,ender (benei~iciary) or its agent recording a Notice of Substitution of Trustee
and providing notice to Trustee and Borrower.

(E) "Note" means the promissory note signed by Borrower and dated OCTOBER 19 , 2010

'I`he Note states that Borrower owes I_.ender
< ONE H`U'NDRED SIX'I‘Y ONE THOUSAND SIX HUNDRED SEVENTY NINE and 76/10 O

Doliars (U.S. $ 161 , 679 . 76 ) plus interest. Borrower has promised to pay this debt in regular
Periodic Payments and to pay the debt in full not later than NOVEMBER 01, 2040 . This Security
Instrument secures a maximum principal amount of up to 150% of the original amount of the Note.

(F) "Property“ means the property that is described below under the heading "Transfer of Rights in the Property."
(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due
under the Note, and all sums due under this Security Instrument, plus interest

(H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. 'I`he following
Riders are to be executed by Borrower [check box as applicable]:

}:l Adjustable Rate Rider l:] Condominium Rider l:! Second Home Rider
l:| Balloon Rider l:| Planned Unit Development Rider 1-4 Family Rider
]:l VA Rider ]:| Biweekly Payrnent Rider [:] Other(s) [specify]

(1') "Applicable Law" means all controlling applicable federai, state and local statutes, regulations, ordinances
and administrative rules and orders (that have the effect of law) as Well as all applicable final, non-appealable
judicial opinions

(J) “Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners association
or similar organization

(K) "Electronie Funds Transfer" means any transfer of funds, other than a transaction originated by check,
draft, or similar paper instrument, Which is initiated through an electronic terminal, telephonic instrument
computer, or magnetic tape so as to order, instruct, or authorize a financial insulation to debit or credit an
account. Such term inciudes, but is not limited to, point-of-sale transfers, automated teller machine tiansactions,
transfers initiated by telephone, wire transfers, and automated clearinghouse transfers

NEW MEX|CO--Single FamlIy--Fannie Mae/Ft'eddie Mac UNIFORM !NSTRUMENT Form 3032 1101 (rev. 12109)

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(L) "Escrow Items" means those items that are described in Section 3.

(M) "lVIisceltaneous Proceeds" means any compensation, settlement award of damages, or proceeds paid
by any third party (other than insurance proceeds paid under the coverages described in Section 5) for:
(i) damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property;
(iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
condition of the Property.

(N) "Mortgage lnsurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.
(0) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time,
or any additional or successor legislation or regulation that governs the same subject matter. As used in this
Security Instrument, "RESP " refers to all requirements and restrictions that are imposed in regard
to a "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage loan“
under RESPA.

(Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not
that party has assumed Borrower's obligations under the Note and/or this Security lnstrument.

TRANSFER OF RIGH'I`S IN THE PROPERTY
This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this Security
Inst.rument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to Trustee for the
benefit of Lender the following described property located in the

COUNTY of BERNALILLO

[Type of Recording Jurisdiction] [Name of Recording _]urisdiction]
SEE EXHIBIT “A" ATTACHED HERETO AND MADE A PART HEREOF.

NEW MEX[CO--Slngle Fami|y--Fannie Mae!|=reddie Mac UN|FORN| lNSTRUMENT Form 3032 1[01 (rev. 12109)

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m ID a _

Parcel ID Number: which currently has the
address of

'7 0 5 JACONITA PL SW , ALBUQUERQUE ,
[Street/City]
New Mexico 8 712 l - 5 4 4 9 ("Property Address") :
[Zip Codel

TOGETHER Wl'I`H all the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also be
covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property."

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the
right to mortgage, grant and convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend generally the title to the Property against all claims
and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants
with limited variations by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment: of Principal, Ioterest, Escrow Items, Prepayment Chargcs, and Late Chargcs.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S, currency.
However. if any check or other instrument received by Lender as payment under the Note or this Security
Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments due under the
Note and this Security Instrument be made in one or more of the following forms, as selected by Lender:
(a) cash; {b) money order; (c) certified check, bank check, treasurer`s check or cashier's check, provided any such
check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality, or entity;
or (d) Electronic Funds ”.t`ransfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such
other location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender
may return any payment or partial payment if the payment or partial payments are insufficient to bring the Loan
current. Lender may accept any payment or partial payment insufficient to bring the Loan current, without
waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial payments in the future.
but Lender is not obligated to apply such payments at the time such payments are accepted. If each Periodic
Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied funds. Lender
may hold such unapplied funds until Borrower makes payment to bring the Loan current. If Borrower does not
do so within a reasonable period of time, Lender shall either apply such funds or return them to Borrower. If not
applied earlier, such funds will be applied to the outstanding principal balance under the Note immediately prior
to foreclosure. No offset or claim which Borrower might have now or in the future against Lender shall relieve
Borrower from making payments due under the Note and this Security Instrument or performing the covenants
and agreements secured by this Security Instrument.

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2. Application ofPayments or Proeeeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in ~the following order of priority: (a) interest due under the
Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each
Periodic Payment in the order in which it became due. Any remaining amounts shall be applied first to late
charges, second to any other amounts due under this Security Instrument, and then to reduce the principal
balance of the Note.

lf Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge.
If more than one Periodic Payment is outstanding. Lender may apply any payment received from Borrower
to the repayment of the Periodic Payrnents if, and to the extent that, each payment can be paid in full. 'I'o the
extent that any excess exists after the payment is applied to the full payment of one or more Periodic Payments,
such excess may be applied to any late charges due. Voluntary prepayments shall be applied first to any
prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Itcms. Borrower shall pay to Lender on the day Periodic Payments areldue under
the Note, until the Note is paid in full, a sum (the "Furrds") to provide for payment of amounts due for: (a) taxes
and assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance
on the Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and all
insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums
payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the
provisions of Section 10. These items are called “Escrow Items." At origination or at any time during the term
of the Loan, Lender may require that Comrnunity Association Dues, Fees, and Assessments, if any, be escrowed
by Borrower, and such dues, fees, and assessments shall be an Escrow Itern- Borrower shall promptly furnish
to Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the l'-`unds for Escrow
Items unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may
waive Borrower's obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver
may only be in writing In the event of such waiver, Borrower shall pay directly, when and where payable, the
amounts due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender
requires, shall furnish to Lender receipts evidencing such payment within such lime period as Lender may
require. Borrower's obligation to make such payments and to provide receipts shall for all purposes be deemed
to be a covenant and agreement contained in this Security Instrument, as the phrase "covenant and agreement" is
used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower
fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9 and pay such
amount and Borrower shall then he obligated under Section 9 to repay to Lender any such amount. Lender may
revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section 15 and,
upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under
this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under
RESPA. Lender shall estimate the amount of l§`unds due on the basis of current data and reasonable estimates
of expenditures of future Escrow ltems or otherwise in accordance with Applicable Law.

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The~Funds shall be held in an institution whose deposits are insured by a federM

or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
RESPA. Lender shall not charge Borrower for holding and applying the I"unds, annually analyzing the escrow
account, or verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law
permits Lender to make such a charge. Unless an agreement is made in writing or Applicable Law requires
interest to be paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings on the
Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the Funds. Lender shall
give to Borrower, without charge. an annual accounting of the I~`unds as required by RESPA.

lf there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower
for the excess funds in accordance with RESPA. If` there is a shortage of I~`unds held in escrow, as defined under
RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
necessary to make up the shortage in accordance with RESPA, but in no more than 12 monthly payments.
If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as
required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the deficiency in
accordance With RESPA, but in no more than 12 monthly payments.

Upon payment in full of` all sums secured by this Security Instrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or ground
rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the extent
that these items are Escrow ltems, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by,
or defends against enforcement of the lien in, legal proceedings which in Lender‘s opinion operate to prevent the
enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded;
or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to this
Security Instrument. If` Lender determines that any part of the Property is subject to a lien which can attain
priority over this Security Instrument. Lender may give Borrower a notice identifying the lien. Within 10 days
of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the actions set
forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term “extended coverage," and any other
hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
This insurance shall be maintained in the amounts (including deductible levels) and for the periods that Lender
requires. What Lender requires pursuant to the preceding sentences can change during the term of the Loan.
The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's right
to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may require Borrower
to pay, in connection with this Loan, either: (a) a one-time charge for flood zone determinationl certification and

NEW MEXICO--Sing|e Fam¢ty--Fannie Mae!Freddie Mac UNlFORM |'NSTRUMENT Form 3032 1/01 (rev. 12/09)

 

 

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tracking services; or (b) a onetime charge for flood zone determination and certilication services and subsequent
charges each time remappings or similar changes occur which reasonably might affect such determination
or certification Borrower shall also be responsible for the payment of any fees imposed by the Federal
Emergency Management Agency in connection with the review of any flood zone determination resulting from
an objection by Borrower.

lf Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage,
at Lender‘s option and Borrower's expense. Lender is under no obligation to purchase any particular type or
amount of coverage. 'I`hereforel such coverage shall cover Lender, but might or might not protect Borrower,
Borrower's equity in the Property, or the contents of the Property, against any risk, hazard or liability and might
provide greater or lesser coverage than was previously in effect_ Borrower acknowledges that the cost of the
insurance coverage so obtained might significantly exceed the cost of insurance that Borrower could have
obtained. Any amounts disbursed by Lender under this Section 5 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall hear interest at the Note rate from the date of
disbursement and shall be payable, with such in terest. upon notice from Lender to Borrower requesting payment

All insurance policies required by Lender and renewals of such policies shall be subject to Lender‘s right
to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee
and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal certificates
If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices.
If Borrower obtains any form of insurance coverage, not otherwise required by Lender, for damage to,
or destruction of, the Property, such policy shall include a standard mortgage clause and shall name Lender
as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing,
any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied
to restoration or repair of the Property, if the restoration or repair is economically feasible and Lender‘s security
is not lessened. During such repair and restoration period, Lender shall have the right to hold such\ insurance
proceeds until Lender has had an opportunity to inspect such Property to ensure the work has been completed
to Lender‘s satisfaction, provided that such inspection shall be undertaken promptly. Lender may disburse
proceeds for the repairs and restoration in a single payment or in a series of progress payments as the work
is completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on such proceeds.
Fees for public adjusters, or other third parties, retained by Borrower shall not be paid out of the insurance
proceeds and shall be the sole obligation of Borrower. If the restoration or repair is not economically feasible
or Lender‘s security would be lessened, the insurance proceeds shall be applied to the sums secured by this
Security lnstrument, whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds
shall be applied in the order provided for in Section 2.

If` Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier
has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when
the notice is given. ln either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower
hereby assigns to Lender (a) Borrower‘s rights to any insurance proceeds in an amount not to exceed the amounts
unpaid under the Note or this Security Instrument, and (b) any other of Borrower's rights (other than the right

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to any refund of unearned premiums paid by Borrower) under all insurance policies covering the Property,
insofar as such rights are applicable to the coverage of the Property. Lender may use the insurance proceeds
either to repair or restore the Property or to pay amounts unpaid under the Note or this Security instrument1
whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
within 60 days after the execution of this Security Instrument and shall continue to occupy the Property
as Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise
agrees in writing. which consent shall not be unreasonably withheld, or unless extenuating circumstances exist
which are beyond Borrower's control.

7. Preservation, Maintenance and Protecfion of the Property; Inspections. Borrower Shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the
Property from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant
to Section 5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property
if damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid
in connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing
or restoring the Property only if Lender has released proceeds for such purposes. Lender may disburse proceeds
for the repairs and restoration in a single payment or in a series of progress payments as the work is completed.
If the insurance or condemnation proceeds are not sufficient to repair or restore the Property, Borrower is not
relieved of Borrower's obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property, lf it has reasonable
cause, Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice
at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent
gave materially false, misleading or inaccurate information or statements to Lender (or failed to provide Lender
with material information) in connection with the Loan. Material representations include, but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower's principal residence.

9. Protection of Lender‘s Interest in the Property and Rights Under this Security Instrument
If (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a
legal proceeding that might significantly affect Lender‘s interest in the Property and/or rights under this Security
Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a
lien which may attain priority over this Security Instrument or to enforce laws or regulations], or (c) Borrower
has abandoned the Property, then Lender may do and- pay for whatever is reasonable or appropriate to protect
Lender‘s interest in the Property and rights under this Security Instrument, including protecting and/or assessing
the value of the Property, and securing and/or repairing the Property. Lender‘s actions can include, but are not
limited to: (a) paying any sums secured by a lien which has priority over this Security lnstrument; (b) appearing
in court; and (c) paying reasonable attorneys` fees to protect its interest in~the Property and/or rights under this
Security Instrument, including its secured position in a bankruptcy proceeding Securing the Property includes,
but is not limited to, entering the Property to make repairs, change locks, replace or board up doors and
windows, drain water from pipes, eliminate building or other code violations or dangerous conditions, and have
utilities turned on or off. Although Lender may take action under this Section 9, Lender does not have to do

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so and is not under any duty or obligation to do so. lt is agreed that Lender incurs no liability for not taking any
or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured
by this Security Inst_rument. These amounts shall bear interest at the Note rate from the date of disbursement and
shall he payable, with such interest, upon notice from Lender to Borrower requesting payment

If this Security Instrument is on a Ieasehold, Borrower shall comply with all the provisions of the lease.
If Borrower acquires fee title to the Property1 the leasehold and the fee title shall not merge unless Lender agrees
to the merger in writing.

10. Mortgage Insurance. lf Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect_ If. for any reason, the
Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments toward
the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
substantially equivalent to the Mortgage Insurance previously in eti`ect, at a cost substantially equivalent to the
cost to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer selected
by Lender. lf substantially equivalent Mortgage Insurance coverage is not available, Borrower shall continue
to pay to\Lender the amount of the separately designated payments that were due when the insurance coverage
ceased to be in elfect. Lender will accept, use and retain these payments as a non-refundable loss reserve in lieu
of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan
is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings on such loss
reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the amount and
for the period that Lender requires) provided by an insurer selected by Lender again becomes available,
is obtained, and Lender requires separately designated payments toward the premiums for Mortgage Insurance.
lf Lender required Mortgage Insurance as a condition of making the Loan and Borrower was required to make
separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums
required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender‘s
requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
conditions that are satisfactory to the mortgage insurer and the other party '(or parties) to these agreements These
agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
may have available (which may include funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other
entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or
might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or
modifying the mortgage insurer‘s risk, or reducing losses. If such agreement provides that an affiliate of Lender
takes a share of the insurer‘s risk in exchange for a share of the premiums paid to the insurer, the arrangement
is often termed "captive reinsurance." Further:

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(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgagc
Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will
owe for Mortgagc Insurance, and they will not entitle Borrower to any rcfund.

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgnge Insurance under the Homcowners Protcction Act of 1998 or any other law. These rights may
include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage
Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
Mortgagc Insurance premiums that were unearned at the time of such cancellation or termination

11. Assignment of Miscellaneous Procceds; Forfeiture. All Misce]laneous Proceeds are hereby
assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender‘s security is not lessened. During such
repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has
had an opportunity to inspect such Property to ensure the work has been completed to Lender‘s satisfaction,
provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration
in a single disbursement or in a series of progress payments as the work is completed. Unless an agreement
is made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds. Lender shall
not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration
or repair is not economically feasible or Lender‘s security would be lessened, the Miscellaneous Proceeds shall
be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid
to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall
be applied to the sums secured by this Security lnstrument, whether or not then due, with the excess, if any, paid
to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the
amount of the sums secured by this Security Instrument immediately before the partial taking, destruction,
or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this Security
Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the following fraction:
(a) the total amount of the sums secured immediately before the partial taking, destruction, or loss in value
divided by (b) the fair market value of the Property immediately before thetpartial taking, destruction, or loss
in value. Any balance shall\he paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the
sums secured immediately before the partial taking. destruction, or loss in value, unless Borrower and Lender
otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the 0 pposing Party
(as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond
to Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply the
Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this Security
Instrument, whether or not then due. "Opposing Party" means the third party that owes Borrower Miscellaneous

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Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous Proceeds.

Borrower shall hein default if any action or proceeding, whether civil or criminal, is begun that, in Lender‘s
judgment, could result in forfeiture of the Property or other material impairment of Lender‘s interest in the
Property or rights under this Security Instrument Borrower can cure such a default and, if acceleration has
occurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a ruling
that, in Lender‘s judgment precludes forfeiture of the Property or other material impairment of Lender‘s interest
in the Property or rights under this Security Instrument. The proceeds of any award or claim for damages that
are attributable to the impairment of Lender‘s interest in the Property are hereby assigned and shall be paid
to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied
in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or any
Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization
of the sums secured by this Security Instrument by reason of any demand made by the original Borrower or any
Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy including,
without limitation, Lender‘s acceptance of payments from third persons, entities or Successors in lnterest
of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any
right or remedy.

13. Joint and Several Liabilif:y; Co-signers; Successors and Assigns Boun¢l. Borrower COVenaniS and
agrees that Borrower's obligations and liability~shall he joint and several. However, any Borrower who co-signs
this Security Instrument but does not execute the Note (a "co~signer"]: (a) is Co~signing this Security Instrument
only to mortgage, grant and convey the co-signer's interest in the Property under the terms of this Security
lnstrument; (b} is not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees
that Lender and any other Borrower can agree to extend, modify, forbear or make any accommodations with
regard to the terms of this Security Instrument or the Note without the co~$igner's Consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's
rights and benefits under this Security Instrument Borrower shall not be released from Borrower's obligations
and liability under this Security Instrument unless Lender agrees to such release in writing. The covenants and
agreements of this Security Instrument shall bind (except as provided in Section 20) and benefit the successors
andas§gnsoflenden

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender‘s interest in the Property and rights under this Security
Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees. In regard to any
other fees, the absence of express authority in this Security Instrument to charge a specific fee to Borrower shall
not be construed as a prohibition on the charging of such fee. Lender may not charge fees that are expressly
prohibited by this Security Instrument or by Applicab]e Law.

If` the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that
the interest or other loan charges collected or to he collected in connection with the Loan exceed the permitted

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limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the
permitted limit; and (b) any sums already collected from Borrower which exceeded permitted limits will be
refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under the Note or
by making a direct payment to Borrower. If a refund reduces principal, the reduction will be treated as a partial
prepayment without any prepayment charge (whether or not a prepayment charge is provided for under the
Note). Borrower's acceptance of any such refund made by direct payment to Borrower will constitute a waiver
of any right of action Borrower might have arising out of such overcharge.

15. Noriccs. All notices given by Borrower or Lender in connection with this Security Instrument must
be in Writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have been
given to Borrower when mailed by first class mailer when actually delivered to Borrower's notice address if sent
by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law
expressly requires otherwise. The notice address shall be the Property Address unless Borrower has designated
a substitute notice address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change
of address If` Lender specifies a procedure for reporting Borrower's change of address, then Borrower shall only
report a change of address through that specified procedure. There may be only one designated notice address
under this Security Instrument at any one time. Any notice to Lender shall be given by delivering it or by
mailing it by first class mail to Lender‘s address stated herein unless Lender has designated another address
by notice to Borrower. Any notice in connection with this Security Instrument shall not be deemed to have been
given to Lender until actually received by Lender. If any notice required by this Security Instrument is also
required under Applicable Law, the Applicable Law requirement will satisfy the corresponding requirement
.under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations
contained in this Security Instrument are subject to any requirements and limitations of Applicable Law.
Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but such
silence shall not be construed as a prohibition against agreement by contract In the event that any provision or
clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other
provisions of this Security Instrument or the Note which can be given effect without the conflicting provision.

As used in this Security Instrument (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and include
the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
"Interest in the Property" means any legal or beneiicial interest in the Property, including, but not limited to,
those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or escrow
agreement the intent of which is the transfer of title by Borrower at a future date to a purchaser.

lf` ali or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not
a natural person and a beneficial interest in Borrower is sold or transferred} without Lender‘s prior Written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable l_.aw.

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I{` Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall provide
a period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security lnstrument. If Borrower fails to pay these sums prior to the
expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without further
notice or demand on Borrower.

19. Borrower's Right to Rcinstate Aftcr Aeceleration. If Borrower meets certain conditions, Borrower
shall have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest
of: (a) five days before sale of the Property pursuant to any power of sale contained in this Security Instrument;
(b) such other period as Applicable Law might specify for the termination of Borrower's right to reinstate;
or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that Borrower: (a) pays
Lender all sums Which then would be due under this Security Instrument and the Note as if no acceleration had
occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses incurred in enforcing
this Security Instrument, including, but not limited to, reasonable attorneys‘ fees, property inspection and
valuation fees, and other fees incurred for the purpose of protecting Lender’s interest in the Property and rights
under this Security Instrument; and (d) takes such action as Lender may reasonably require to assure that
Lender‘s interest in the Property and rights under this Security Instrument, and Borrower's obligation to pay the
sums secured by this Security Instrument, shall continue unchanged- Lender may require that Borrower pay
such reinstatement sums and expenses in one or more of the following forms, as selected by Lender: (a) cash;
(b) money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any such check
is drawn upon an insulation whose deposits are insured by a federal agency, instrumentality or entity;
or (d) Elect.ronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations
secured hereby shall remain fully effective as if no acceleration had occurred. l-Iowever, this right to reinstate
shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the
Note (together with this Security Instrument) can be sold one or more times without prior notice to Borrower.
A sale might result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments due
under the Note and this Security Instrument and performs other mortgage loan servicing obligations under the
Note, this Security Instrument, and Applicable Law. There also might be one or more changes of the Loan
Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be given written
notice of the change which will state the name and address of the new Loan Servicer, the address to which
payments should be made and any other information RESPA requires in connection with a notice of transfer
of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser
of the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan Servicer
or be transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise
provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either
an individual litigant or the member of a class) that arises from the other party's actions pursuant to this Security
Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of, this
Security Instrument, until such Borrower or Lender has notified the other party (with such notice given
in compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto
a reasonable period after the giving of such notice to take corrective action. lf Applicable Law provides a time
period which must elapse before certain action can be taken, that time period will be deemed to be reasonable for

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purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant
to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy
the notice and opportunity to take corrective action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 212 (a) "Hazardous Substances" are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and
herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials',
(b) "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that
relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response action,
remedial action, or removal action, as defined in Environmental Law; and (d) an "Environrnental Condition"
means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor
allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental Law,
(b) which creates an Environmental Condition, or (c) which. due to the presence, use, or release of a Hazardous
Substance, creates a condition that adversely affects the value of the Property. The preceding two sentences
shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous Substances that
are generally recognized to be appropriate to normal residential uses and to maintenance of the Property
(inf:luding, but not limited to, Hazardous Substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (h) any Environmental
Condition, including but not limited to, any spilling, leaking, discharge, release or threat of release of any
Hazardous Substance, and (c) any condition caused by the presence, use or release of a Hazardous Substance
Which adversely affects the value of the Property. If Borrower leams, or is notified by any governmental
or regulatory authority. or any private party, that any removal or other remediation of any Hazardous Substance
affecting the Property is necessary, Borrower shall promptly take all necessary remedial actions in accordance
with Environmental Law. Nothing herein shall create any obligation on Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Aceeleration; Remctlies. Lender shall give notice to Borrower as provided in Section 15 prior to
acceleration following Borrower’s breach of any covenant or agreement in this Security Instrument (but
not prior to acceleration under Section 18 unless Applical)le Law provides otherwise). The notice shall
specify: (a) the default; (b) the action required to cure the default; (c) a date, not less than 30 days from
the date the notice is given to Borrower, by which the default must be curcd; and (d) that failure to cure
the default on or before-the date specified in the notice may result in acceleration of the sums secured by
this Security Instrument and foreclosure and sale of the Property by the Trustee pursuant to the power of
sale or by judicial proceeding. If the default is not cured on or before the date specified in the notice,
Lender may require immediate payment in full of all sums secured by this Security Instrument without
further demand and may foreclose this Security Instrument, at its option, either by Trustee’s sale, in
accordance with the procedures, including notice, under the New Mexico Deed of Trust Act (§ 48-10-1 et
seq., NMSA f1978]), or through judicial proceeding Lender shall be entitled to collect all expenses

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incurred in pursuing the remedies provided in this Section 22, ineluding, but not lmlte to, reasona e

atto meys’ fees and costs of title evidence.

If this Security Instrument secures a “home loan” as defined in the New Mexico Home Loan Protection Act
(§ 58-21A-1 et seq., NMSA [1978]), certain provisions of that act may be applicable with respect to default,
notice, right to cure, method of foreclosure and/or other issues. Notwithstanding any other provisions in this
Security Instrument, to the extent any provision of this Security Instrument is inconsistent with the applicable
requirements of the Home Loan Protection Act, the provisions of, that act shall control.

23. Additional Statutory Provisions. The Security Instrument is executed and delivered in conformity-
with Section 47-1-39 NMSA (1978) upon the statutory mortgage condition and the Deed of Trust Act.

24. Release. Upon payment of all sums secured by this Security Instrument, Lender Shall release this
Security Instrument Borrower shall pay any recordation costs_ Lender may charge Borrower a fee for releasing
this Security Instrument, but only if the fee is paid to a third party for services rendered and the charging of the
fee is permitted under Applicahle Law.

25. Redemption Period. If this Security Instrument is foreclosed, the redemption period after judicial or
non~judicial sale shall he one month.

26. Receiver. At any time after default, Lender (beneficiary) shall be entitled to the appointment
of a receiver for the Property pursuant to the New Mexico Receivership Act (§ 44-8-1 et seq,. NMSA [1978]).

BY SIGNING BELOW, -Borrower accepts and agrees to the terms and covenants contained in this Security
Instrument and in any Rider executed by Borrower and recorded with it.

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I..ESLIE c . REcI-iNER -Borrower

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STATE OF NEW IV.'IEXICO, OB?'-N/J l»/H’D County ss:

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My Commission Expires: 510 -'“O /"/ 9

 
 
  
 
  

 

 
   

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§ Thomas Bensen, Sr.
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“Exhibit A”
Legal Description

Lot numbered ‘l`wenty-thrcc-P-One (23-?1), of Stinson Park Subdivisi<m, City efAlbuquerque,
Bemalillo County, Ncw Mcxico, as the same is shown and designated on the plat thclrof, filed in the
office of the County Clerk of`Bemalillo Col.mty, New Mexico, on Octobcr 30, 2006, in Plat Book 2006€,
Page 330, as Doc. No. 2006-165285.

 

 

